Case 1:19-cv-00742-LPS Document 717 Filed 04/23/20 Page 1 of 3 PageID #: 56140




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 CIRBA INC. (d/b/a DENSIFY)                           Civil Action No. 1:19-cv-00742-LPS
 and CIRBA IP, INC.,

                Plaintiffs/Counter-Defendants,
                                                      JURY TRIAL DEMANDED
        v.

 VMWARE, INC.,

                Defendant/Counter-Plaintiff.


                                    NOTICE OF SERVICE

       The undersigned hereby certifies that copies of the following document,

       DENSIFY’S FIRST SET OF COUNTERCLAIM REQUESTS FOR PRODUCTION TO
       VMWARE (NOS. 1-164)

were served upon the attorneys listed below via electronic mail on this 23rd day of April, 2020

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Case 1:19-cv-00742-LPS Document 717 Filed 04/23/20 Page 2 of 3 PageID #: 56141



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                                      2
Case 1:19-cv-00742-LPS Document 717 Filed 04/23/20 Page 3 of 3 PageID #: 56142




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